Case 2:05-Cr-20077-BBD Document 56 Filed 07/20/05 Page 1 of 2 Page|D 60

  

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IN THE UNITED sTATEs I)ISTRICT coURT “"'
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUL 20 PH ,2_ 2
WESTERN DIVIsIoN ' 7
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UNITED STATES oF AMERICA, * CLERK, U.S ;- `}{`MD
l’li@i)rr‘ ila |'L'
Plaimirf, *
v. * Cr. No. 05-20076-B `/
RITA WILLIAMSON, * 05 “ 2 0 0 7 7 d :B
Defendant. *

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT REPORT DATE

 

The Defendant is set for a report date before the Court in the above-captioned matter, as Well
as in Case No. 05-20077, for Monday, July 25, 2005, at 9:30 a.m.
For good cause shown, the Defendant’S request to waive her appearance at the report date

set as to Case Nos. 05-20076 and 05-20077 is hereby GRANTED.

The Defendant shall not be required to appear at the above report dates and shall remain on

her present bond
<¢§L
lt is se ORDERED. This the D\O day of July 2005.

H or ble J. Daniel Breen \
nite States District Judge

 

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UNITED sATE DISTRICT COURT - WTERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 56 in
case 2:05-CR-20077 Was distributed by faX, mail, or direct printing on
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EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38 l 03

Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

.1 avier 1\/1. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

1\/lemphis7 TN 38103

William C. Anderson
ANDERSON LAW FIRM
142 North Third St.
1\/lemphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

